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  8
      Attorneys for Defendant
  9   QWorldstar, Inc.
 10
 11                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 12
 13   JUKIN MEDIA, INC., a California            CASE NO.: 2:16-cv-6800-JFW(SSx)
      corporation
 14
                   Plaintiffs,
 15                                              DEFENDANT’S [PROPOSED]
                  v.                             STATEMENT OF DECISION
 16                                              GRANTING MOTION TO AMEND
      QWORLDSTAR, INC., a California             SCHEDULING ORDER
 17
      corporation, d/b/a Worldstar, Worldstar Hip
 18   Hop, Worldstar Candy; and DOES 1
      through 10,                                 Hon. John F. Walter
 19                                               Magistrate Judge Suzanne H. Segal
 20               Defendants.                    Date:       June 26, 2017
                                                 Time:       1:30 p.m.
 21                                              Location:   Courtroom 7A
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           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION TO AMEND
                                     SCHEDULING ORDER
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  1         TO ALL PARTIES AND COUNSEL OF RECORD:
  2         This matter is before the Court upon moving defendant QWorldstar, Inc.’s
  3   (“Defendant”) Motion to Amend Scheduling Order (the “Motion”) (Dkt. No. 43).
  4   Having reviewed Defendant’s Motion and Reply and the plaintiff Jukin Media,
  5   Inc.’s (“Plaintiff”) Opposition, and having considered oral arguments by the parties
  6   at the hearing on the Motion, the Court finds as follows:
  7         Good cause exists to amend the Court’s Case Scheduling Order (“CMO”)
  8   based on the undisputed showing of good cause set forth in the Declarations of
  9   Douglas L. Johnson (Dkt. No. 41-1) and Edward Dwyer (Dkt. No. 41-10).
 10         Plaintiff will not be prejudiced by a continuance of the trial and all related
 11   dates and discovery deadlines set forth in the CMO. Plaintiff does not seek
 12   injunctive relief that requires immediate resolution and Defendant seeks to schedule
 13   the continued trial for a time convenient to the Court, Plaintiff, and its counsel.
 14         For these reasons, the Court GRANTS Defendant’s Motion pursuant to Fed.
 15   R. Civ. P. 16(b)(4).
 16   I.    FACTUAL BACKGROUND
 17         Defendant is a content aggregating video blog with a target demographic of
 18   individuals in the 18 to 35-year-old range. Defendant is the “home to everything
 19   entertainment & hip hop” and is the “number one urban outlet responsible for
 20   breaking the latest urban news.” “Since 2005, [Defendant] has worked with some
 21   of [this] generation’s most groundbreaking artists, athletes & musicians – all who
 22   have helped continue to define [Defendant’s] unique identity and attitude.”
 23         Plaintiff operates a video blog that competes with Defendant. Plaintiff
 24   contacts viral video content creators to obtain rights to these videos, which are then
 25   posted on Plaintiff’s video blog and/or licensed to third-party users.
 26         Between February 2015 and December 2016, Defendant posted 62 videos
 27   (the “Subject Videos”) to Defendant’s website and/or Defendant’s social media
 28   platforms. Plaintiff maintains that it has a copyright interest in each of the Subject
                                        1
           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                            TO AMEND SCHEDULING ORDER
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  1   Videos, as well as ownership in a trademark for FAILARMY, which appears in one
  2   of the Subject Videos entitled, “Ultimate Parkour Fails Compilation || FailArmy.”
  3   Plaintiff also maintains that Defendant infringed on Plaintiff’s copyright and
  4   trademark interests in the Subject Videos.
  5         On May 17, 2017, the Court scheduled an Order to Show Cause Why
  6   Sanctions Should Not be Imposed for Failure to Comply with the Court’s Order
  7   (Dkt. No. 40) (the “OSC”). The OSC indicated that “[t]he parties have violated the
  8   Court’s CMO by failing to complete the Settlement Conference by the Court-
  9   ordered deadline of May 2, 2017.”
 10         On May 17, 2017, Defendant filed an Ex Parte Application to Amend
 11   Scheduling Order (Dkt. No. 41).
 12         On May 18, 2017, the Court denied Defendant’s Application without
 13   prejudice to filing a regularly noticed motion (Dkt. No. 42).
 14         On May 19, 2017, Defendant filed the Motion (Dkt. No. 43).
 15   II.   GOOD CAUSE EXISTS TO AMEND THE SCHEDULING ORDER
 16         Federal Rule of Civil Procedure 16(b)(4) provides that “[a] schedule may be
 17   modified only for good cause and with the judge’s consent.” (See also, Johnson v.
 18   Mammoth Recreations, Inc., 975 F.2d 604, 608 (9th Cir. 1992).) The good cause
 19   standard is met if the party seeking the continuance shows diligence. (Id. at 609.)
 20   Courts also consider whether matters that were not, and could not have been,
 21   foreseeable at the time of the scheduling conference caused the need for
 22   amendment and whether the moving party was diligent in seeking amendment once
 23   the need to amend became apparent. (Ibid.)
 24         If the trial court determines that refusal to allow a modification of a pre-trial
 25   order could result in injustice, while allowing the modification would cause no
 26   substantial injury to the opponent and no more than a slight inconvenience to the
 27   court, modification is appropriate. (See United States v. First Nat. Bank of Circle,
 28   652 F.2d 882, 887 (9th Cir. 1981).)
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            DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                             TO AMEND SCHEDULING ORDER
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  1         Here, it is undisputed that Mr. O’Denat unexpectedly died on January 23,
  2   2017. In addition, Plaintiff does not dispute any of the following facts from the
  3   Declaration of Defendant’s Chief Executive Officer, Edward Dwyer:
  4         — Mr. Dwyer had to meet with Mr. O’Denat’s trusts and estates attorney to
  5         assume the role of trustee. Among other things, this role entailed repeated
  6         travel and meetings over the course of several weeks to arrange for the
  7         itemization, distribution, and management of trust assets;
  8         — Mr. Dwyer had to meet with Mr. O’Denat’s family law attorney, Sharon
  9         Blanchet, and had to retain her to discuss and address a pending “Marvin
 10         Action” filed in the Family Law Court in San Diego;
 11         — Mr. Dwyer had to hire individuals to assist with the inventory of trust
 12         assets;
 13         — Mr. Dwyer had to hire a corporate lawyer to handle all the corporate
 14         resolutions appointing Mr. Dwyer as Worldstar’s CEO so that he could
 15         manage the company and use the company bank accounts;
 16         — Mr. Dwyer had to unfreeze Worldstar’s bank accounts to ensure that the
 17         company could operate and pay its employees;
 18         — Mr. Dwyer had to recover Mr. O’Denat’s personal items from the coroner;
 19         — Mr. Dwyer had to terminate real property leases and coordinate the
 20         removal of Mr. O’Denat’s personal property from Mr. O’Denat’s properties;
 21         — Mr. Dwyer had to plan, oversee, and attend Mr. O’Denat’s funeral;
 22         — Mr. Dwyer had to contact and gain access to Mr. O’Denat’s personal
 23         property in storage facilities;
 24         — Mr. Dwyer had to address pressing issues relating to child support to
 25         ensure Mr. O’Denat’s children were provided for;
 26         — Mr. Dwyer had to locate and retain probate attorney, Mary Gillick, to
 27         address guardianship and support issues for Mr. O’Denat’s children, as well
 28         as trust property disputes;
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           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                            TO AMEND SCHEDULING ORDER
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  1         — Mr. Dwyer had to address complicated internal revenue service issues and
  2         filings for Mr. O’Denat’s estate;
  3         — Mr. Dwyer had to attend court hearings in the family law and probate
  4         matters relating to Mr. O’Denat’s children and the trust;
  5         — Mr. Dwyer had to pay bills for the children’s day-to-day care, healthcare,
  6         and education;
  7         — Mr. Dwyer had to address a lawsuit regarding a disinheritance dispute;
  8         — Mr. Dwyer had to retain an attorney to address complicated estate tax
  9         issues;
 10         — Mr. Dwyer had to assume the role of Worldstar’s chief executive officer;
 11         — Mr. Dwyer had to hire an employee, which he trained to handle
 12         Worldstar’s servers, content delivery networks, and webpage development;
 13         — Mr. Dwyer had to familiarize himself with the roles of each Worldstar
 14         employee;
 15         — Mr. Dwyer had to meet with, maintain, and develop the relationships Mr.
 16         O’Denat had with various music and television industry professionals and
 17         companies;
 18         — Mr. Dwyer had to attend daily meetings with Worldstar accountants;
 19         — Mr. Dwyer had to familiarize himself with all of Worldstar’s day-to-day
 20         operations, including the development of new revenue streams;
 21         — Mr. Dwyer had to streamline Worldstar’s various business entities and
 22         accountings;
 23         — Mr. Dwyer had to oversee artist relationships on a daily basis;
 24         — In addition to the avalanche of new responsibilities and tasks Mr. Dwyer
 25         assumed, Mr. Dwyer had to manage the responsibilities he handled prior to
 26         Mr. O’Denat’s death, including but not limited to, Worldstar sales,
 27         information technology issues, server problems, Digital Millennium
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           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                            TO AMEND SCHEDULING ORDER
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  1         Copyright Act requests, site and analytic monitoring, and content
  2         submissions.
  3   (Dkt. No. 41-10.)
  4         Plaintiff also does not dispute the following from the Declaration of
  5   Defendant’s general counsel, Douglas L. Johnson:
  6                As Worldstar’s general counsel, I was involved with the hiring
  7                of family law and trusts and estates attorneys for Mr. O’Denat’s
  8                estate, as well as a corporate attorney for Worldstar. The
  9                instability caused by Mr. O’Denat’s untimely death and the
 10                need to get Mr. O’Denat’s personal and corporate affairs in
 11                order consumed everyone’s time at Worldstar, including mine,
 12                for several months. Also, I did not expect the amount of legal
 13                work and litigation that has ensued over Mr. O’Denat’s trust. It
 14                has been a mountain of work for both Mr. Dwyer and me.
 15   (Dkt. No. 41-1.)
 16         Furthermore, Plaintiff does not dispute that it consciously violated the CMO.
 17   Plaintiff also does not dispute that Defendant diligently and in good faith sought to
 18   amend the CMO. Finally, it is undisputed that Defendant has diligently and in good
 19   produced witnesses in New York, Florida, and California, propounded discovery,
 20   and designated an expert since Edward Dwyer’s April 26, 2017 deposition.
 21         Plaintiff maintains that, notwithstanding the foregoing undisputed facts,
 22   Defendant delayed filing the Motion. However, this is inconsistent with the fact
 23   that Plaintiff acknowledged that Mr. O’Denat’s death constituted good cause to
 24   allow Worldstar to amend its Answer to the Second Amended Complaint (Dkt. No.
 25   36). Under the circumstances, it is reasonable and fair that Mr. O’Denat’s death
 26   also constitutes good cause to continue the trial and related dates.
 27   ///
 28   ///
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            DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                             TO AMEND SCHEDULING ORDER
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  1   III.   PLAINTIFF WILL NOT BE PREJUDICED IF THE COURT
  2          AMENDS THE CMO
  3          Plaintiff will not be prejudiced by a continuance of the trial and all related
  4   dates set forth in the CMO. Plaintiff is not seeking injunctive relief that requires
  5   immediate resolution. Any inconvenience in rearranging schedules for a new trial
  6   date, minor inconvenience does not amount to prejudice, and Worldstar has no
  7   objection to scheduling the continued trial for a time convenient to Plaintiff and its
  8   counsel.
  9          In addition, Plaintiff will not be prejudiced by a continuance of the trial and
 10   all related dates because: (i) both parties cannot complete discovery before the July
 11   24, 2017 discovery cut-off; (ii) a continuance will permit the parties to comply with
 12   the CMO’s deadline to complete a settlement conference; and (iii) the trial will be
 13   streamlined by the completion of discovery in due course.
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             DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                              TO AMEND SCHEDULING ORDER
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  1                                           ORDER
  2         IT IS HEREBY ORDERED that all dates set forth in the December 13,
  3   2016 Scheduling Order in this case are modified as follows:
  4
  5                                               Current Date       New Date
  6   Last day to conduct Settlement                  5/2/17          7/31/17
  7   Conference
  8   Last day to file Joint Report re: results       5/9/17          8/7/17
  9   of Settlement Conference
 10   Discovery cut-off                               7/24/17        10/23/17
 11   Last day for hearing motions                    8/7/17          11/6/17
 12   Submit Pre-Trial Conf. Order; File              8/24/17         12/6/17
 13   Motions in Limine; Memo of
 14   Contentions of Fact and Law; Pre-
 15   Trial Exhibit Stipulation; Summary of
 16   Witness Testimony and Time
 17   Estimates; File Status Report re
 18   Settlement; File Agreed Upon Set of
 19   Jury Instructions and Verdict Forms;
 20   File Joint Statement re Disputed
 21   Instructions, Verdicts, etc.
 22   Pre-Trial Conference; File Proposed             9/8/17         12/21/17
 23   Voir Dire Qs and Agreed-to
 24   Statement of Case
 25   [Court trial] Hearing on Motions in               X
 26   Limine
 27   [Jury trial] Hearing on Motions in              9/15/17        12/28/17
 28
                                        7
           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                            TO AMEND SCHEDULING ORDER
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  1
      Limine; Hearing on Disputed Jury
  2
      Instructions
  3
      Trial (jury) Estimated length: 3 days      9/26/17              1/22/18
  4
  5
      IT IS SO ORDERED.
  6
  7   Dated: ____________________, 2017        _____________________________
  8                                            Honorable John F. Walter
                                               United States District Judge
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           DEFENDANT’S [PROPOSED] STATEMENT OF DECISION GRANTING MOTION
                            TO AMEND SCHEDULING ORDER
